     Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 1 of 8




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

ROBERT HARVEY FULLER,                      )
                                           )
Plaintiff,                                 )
                                           )
v.                                         )
                                           )        Civil Action No.
                                           )        2:17-cv-00096-ALB-SMD
KOCH FOODS OF ALABAMA,                     )
LLC; and                                   )
MELISSA MCDICKINSON                        )
                                           )
Defendants.                                )


      DEFENDANTS' JOINT AMENDED WITNESS LIST FOR TRIAL

      Defendants, Koch Foods of Alabama, LLC and Melissa McDickinson,

(collectively "Defendants"), hereby submit the following amended joint list of

witnesses for trial in the above-referenced matter. Defendants inadvertently

omitted Hewitt Marshall from their initial "may call" list:

A.    Witnesses Defendants Expect to Present:

      1.      Harvey Fuller
              c/o Heather Newsom Leonard
              Heather Leonard, PC
              2105 Devereux Circle; Suite 111
              Birmingham, AL 35243
              (205) 977-5421

      2.      David Birchfield
              c/o Marion F. Walker
              Fisher Phillips
Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 2 of 8



       2323 2nd Avenue North
       Birmingham, AL 35203
       (205) 327-8354 Telephone
       (205) 718-7607 Facsimile

 3.    Melissa McDickinson
       c/o Marion F. Walker
       Fisher Phillips
       2323 2nd Avenue North
       Birmingham, AL 35203
       (205) 327-8354 Telephone
       (205) 718-7607 Facsimile

 4.    Bobby Elrod
       c/o Rachel V. Barlotta
       Wells Fargo Tower
       420 North 20th Street, Suite 1600
       Birmingham, AL 35203
       (205) 328-0480

 5.    Laura Cortes

 6.    Kathie Denton
       c/o Heather Newsom Leonard
       Heather Leonard, PC
       2105 Devereux Circle; Suite 111
       Birmingham, AL 35243
       (205) 977-5421

 7.    Rebecca Milam

 8.    Heather Bowen

 9.    Shawn Collins

 10.   Jeffery Jones

 11.   Elvin Mitchell

                                  2
     Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 3 of 8



      12.   Joseph Lacy


      13.   Tammy Shirley
            c/o Rachel V. Barlotta
            Wells Fargo Tower
            420 North 20th Street, Suite 1600
            Birmingham, AL 35203
            (205) 328-0480

      14.   April Hawkins

      15.   Summer Smith Sandley

      16.   Andy Mozingo
            Global Computer Forensic Investigations, LLC
            86 Bellepointe Circle
            Post Office Box 1482
            Purvis, MS 39475-1482
            (601) 450-4234

      17.   Francisco Santos
            Mr. Santos is deceased but will be presented by deposition.

      18.   Any witness needed to authenticate records.

      19.   Any witness listed by Plaintiff and not objected to by Defendants.

      20.   Any witness needed for rebuttal or impeachment.

B.    Witnesses Defendants May Call If Need Arises:

      1.    Christina Shirley

      2.    Randy Davenport

      3.    Stewart Ward
            c/o Rachel V. Barlotta
            Wells Fargo Tower
                                        3
     Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 4 of 8



           420 North 20th Street, Suite 1600
           Birmingham, AL 35203
           (205) 328-0480

      4.   Dennis Gordon
           c/o Rachel V. Barlotta
           Wells Fargo Tower
           420 North 20th Street, Suite 1600
           Birmingham, AL 35203
           (205) 328-0480

      5.   Clergy or Authorized Representative of Old Elam Missionary Baptist
           Church

      6.   Hewitt Marshall
           c/o Rachel V. Barlotta
           Wells Fargo Tower
           420 North 20th Street, Suite 1600
           Birmingham, AL 35203
           (205) 328-0480

C.    Conditional witnesses Defendants may call depending on Motion in
      Limine rulings:

      1.   Tonya Lockley
           c/o Rachel V. Barlotta
           Wells Fargo Tower
           420 North 20th Street, Suite 1600
           Birmingham, AL 35203
           (205) 328-0480

      2.   Kenneth Earl Berry, Jr.

      3.   Betty Stabler

      4.   Jeffery Shaw
           c/o Rachel V. Barlotta
           Wells Fargo Tower
           420 North 20th Street, Suite 1600
                                       4
Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 5 of 8



       Birmingham, AL 35203
       (205) 328-0480

 5.    Tony Lasner
       c/o Rachel V. Barlotta
       Wells Fargo Tower
       420 North 20th Street, Suite 1600
       Birmingham, AL 35203
       (205) 328-0480

 6.    Bobby Cotton

 7.    Ashley Skinner
       c/o Rachel V. Barlotta
       Wells Fargo Tower
       420 North 20th Street, Suite 1600
       Birmingham, AL 35203
       (205) 328-0480

 8.    Frank Sheley
       c/o Rachel V. Barlotta
       Wells Fargo Tower
       420 North 20th Street, Suite 1600
       Birmingham, AL 35203
       (205) 328-0480

 9.    Sherri Gonzalez

 10.   Investigators and other personnel with Alabama Nursing Board
       Peggy Sellers Benson
       Alice Henley
       T. Williamson
       Nate Nunnelley
       Klisha Potts
       H. Kenney
       Gloria Franklin
       Christie Mumford
       Howard Kenney
       770 Washington Ave Ste 250
                                   5
Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 6 of 8



       Montgomery, AL 36104
       (800) 656-5318

 11.   Deborah Powell
       EEOC
       Ridge Park Place
       1130 22nd Street South
       Birmingham, Alabama 35203

 12.   William Summerville

 13.   Curtis Gray
       c/o George N. Davies
       Quinn, Connor, Weaver, Davies & Rouco LLP
       Two North Twentieth
       2 – 20th Street North
       Suite 930
       Birmingham, AL 35203
       (205) 870-9989 - telephone

 14.   Lindsey Johnson

 15.   Sabrina Bell

 16.   Johngernita Foxhall

 17.   Robert M. Callahan
       A to Z Confidential Investigations, Inc.
       P. O. Box 430063
       Birmingham, Alabama 35223
       (205) 870-2000

 18.   Tony Lasner
       c/o Rachel V. Barlotta
       Wells Fargo Tower
       420 North 20th Street, Suite 1600
       Birmingham, AL 35203
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                                   6
     Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 7 of 8



       Defendants respectfully reserve the right to supplement, amend, and/or

revise this witness list at any time prior to trial.

       This, the 30th day of August, 2019.


                                                 s/ Rachel V. Barlotta
                                                 RACHEL V. BARLOTTA
                                                 SHARONDA C. FANCHER
                                                 Attorneys for Defendant
                                                 Koch Foods of Alabama, LLC

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                                                 s/Marion F. Walker
                                                 Marion F. Walker
                                                 Corey Goerdt
                                                 Counsel for Melissa McDickinson
OF COUNSEL:
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2323 2nd Avenue North
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mfwalker@fisherphillips.com
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                           CERTIFICATE OF SERVICE
      I hereby certify that on this, the 30th day of August, 2019, this document
was served on counsel of record listed below via email:
       Cynthia Forman Wilkinson
       Wilkinson Law Firm PC
                                             7
Case 2:17-cv-00096-ALB-SMD Document 236 Filed 08/30/19 Page 8 of 8



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 Alicia Kay Haynes
 Kenneth Haynes
 Charles Guerrier
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 Email: akhaynes@haynes-haynes.com
 Email: ceguerrier@haynes-haynes.com


                                       /s/ Rachel V. Barlotta
                                       Of Counsel




                                   8
